              Case: 25-1555   Document: 78   Page: 1    Date Filed: 05/22/2025




  Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                 (Consolidated)

                   IN THE UNITED STATES COURT OF APPEALS
                           FOR THE THIRD CIRCUIT
                              ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                                 WE INFORM LLC, ET AL.
                                                            DEFENDANTS-APPELLANTS.


                  MOTION TO EXCEED THE WORD LIMITATION
                    FOR APPELLANTS’ JOINT REPLY BRIEF

        Pursuant to Federal Rule of Appellate Procedure 27, Appellants hereby move

to exceed the word limitation for their joint reply brief, due by noon on May 30,

2025, by 700 words. Appellees have stated to undersigned counsel that they take no

position on this request.

        1.       The briefing in this appeal has been consolidated among 40 different

cases. It centers on a facial First Amendment challenge to a New Jersey state law.

        2.       On April 14, 2025, Appellants filed their opening brief in accordance

with Federal Rule of Appellate Procedure 32(a)(7)(B).

        3.       On May 12, Plaintiffs-Appellees and Intervenor-Appellee Attorney

General of New Jersey filed separate response briefs. Each brief makes different

314249782v1
              Case: 25-1555   Document: 78   Page: 2    Date Filed: 05/22/2025




arguments on the constitutional issue before the Court.

        4.       A week later, three separate briefs were filed by amici in support of

Appellees. Each of those briefs presents distinct arguments and perspectives.

        5.       These five briefs, totaling more than 40,000 words, include disparate

arguments to which Appellants must reply in a single consolidated brief.

        In light of these extraordinary circumstances, Appellants respectfully request

a modest 700-word enlargement of the word limitation for their joint reply brief,

from 6,500 to 7,200 words.

Dated: May 22, 2025                       Respectfully Submitted,

                                          On Behalf of All Defendants-Appellants

                                          TROUTMAN PEPPER LOCKE LLP

                                          /s/ Angelo A. Stio III
                                          Angelo A. Stio III
                                          Melissa A. Chuderewicz
                                          Stephanie L. Jonaitis
                                          Suite 400
                                          301 Carnegie Center
                                          Princeton, NJ 08540-6227
                                          (609) 951-4125
                                          Angelo.Stio@troutman.com
                                          Melissa.Chuderewicz@troutman.com
                                          Stephanie.Jonaitis@troutman.com

                                          Attorneys for Defendant-Appellant
                                          RocketReach LLC (No. 25-1582); Deluxe
                                          Corp. (No. 25-1559); PropertyRadar Inc.
                                          (No. 25-1584); and DM Group Inc.
                                          (No. 25-1558)


                                             2
314249782v1
              Case: 25-1555   Document: 78    Page: 3    Date Filed: 05/22/2025




                          CERTIFICATE OF COMPLIANCE

        Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and Local

Appellate Rule 31.1, I hereby certify that:

        1.       The foregoing Motion complies with the type-volume limitation of Fed.

R. App. P. 27(d)(2), because, according to the word count of the word-processing

system used to prepare the Motion, the Motion contains 192 words, excluding the

caption, signature block, and certificates of counsel;

        2.       The foregoing Motion complies with the typeface requirements of Fed.

R. App. P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6)

because it has been prepared in a proportionally spaced typeface, 14-point Times

New Roman font;

        3.       The text of the electronic Motion and the text of any paper copies to be

filed with the Clerk are identical; and

        4        The PDF file of this Motion has undergone a virus check using

Windows Defender Advanced Threat Protection Antivirus, Version 1.429.133.0, last

updated on May 22, 2025 at 2:46PM EST, and no virus was detected.

        This 22d day of May, 2025.

                                                        /s/ Angelo A. Stio III
                                                        Angelo A. Stio III




                                             3
314249782v1
              Case: 25-1555   Document: 78   Page: 4     Date Filed: 05/22/2025




                              CERTIFICATE OF SERVICE

        I hereby certify that on this 22d day of May, 2025, I caused a true and

correct copy of this Motion to Exceed the Word Limitation for Appellants’ Joint

Reply Brief to be served via ECF using the CM/ECF system. Participants in the

case are registered CM/ECF users, and service will be accomplished by the

appellate CM/ECF system.



                                                 /s/ Angelo A. Stio III
                                                 Angelo A. Stio III

                                                 Angelo A. Stio III
                                                 Melissa A. Chuderewicz
                                                 Stephanie L. Jonaitis
                                                 TROUTMAN PEPPER LOCKE LLP
                                                 Suite 400, 301 Carnegie Center
                                                 Princeton, NJ 08540
                                                 609-452-0808
                                                 Angelo.Stio@troutman.com
                                                 Melissa.Chuderewicz@troutman.com
                                                 Stephanie.Jonaitis@troutman.com

                                                 Attorneys for Defendants-Appellants
                                                 RocketReach LLC (No. 25-1582);
                                                 Deluxe Corp. (No. 25-1559);
                                                 PropertyRadar Inc.
                                                 (No. 25-1584); and DM Group Inc.
                                                 (No. 25-1558)




                                             4
314249782v1
